          Case 1:11-vv-00876-UNJ Document 80 Filed 11/06/15 Page 1 of 7




       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 11-876V
                                     Filed: October 13, 2015

* * * * * * * * * * * * * * * *                              UNPUBLISHED
FRIEDA LAUBER, parent of O.K., a minor, *
                                        *                    Special Master Gowen
          Petitioner,                   *
                                        *                    Joint Stipulation on Damages;
v.                                      *                    Meningococcal Conjugate vaccine;
                                        *                    Diphtheria-Tetanus-acellular
SECRETARY OF HEALTH                     *                    Pertussis vaccine.
AND HUMAN SERVICES,                     *
                                        *
          Respondent.                   *
                                        *
* * * * * * * * * * * * * * * *

Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Lara A. Englund, United States Department of Justice, Washington, DC, for respondent.

                           DECISION ON JOINT STIPULATION1

        On December 14, 2011, Frieda Lauber (“petitioner”) filed a petition on behalf of her minor
daughter, O.K., pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§
300aa-1 to -34 (2012). Petitioner alleged that as a result of receiving diphtheria-tetanus-acellular
pertussis (“Dtap”)3, and meningococcal conjugate vaccines on or about January 12, 2009, O.K.
1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat.
2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule
18(b), each party has 14 days within which to request redaction “of any information furnished by
that party: (1) that is a trade secret or commercial or financial in substance and is privileged or
confidential; or (2) that includes medical files or similar files, the disclosure of which would
constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.
3
  The medical records indicate that O.K. received a Tetanus-Diphtheria-acellular Pertussis
(“Tdap”) vaccination, not a Dtap vaccination as alleged. Nevertheless, both vaccines are covered
in this Program.

                                                 1
          Case 1:11-vv-00876-UNJ Document 80 Filed 11/06/15 Page 2 of 7



developed acute disseminated encephalomyelitis (“ADEM”) and multiple sclerosis (“MS”).
Stipulation ¶ 2, 4, docket no. 75, filed Oct. 13, 2015. Further, petitioner alleged that O.K.
experienced residual effects of her injury for more than six months. Id. at ¶ 4.

        On October 13, 2015, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation. Respondent denies that the vaccines caused O.K.’s
ADEM, MS, or any other injury, or her current condition. Id. at ¶ 6. Nevertheless, the parties
agree to the joint stipulation, attached hereto as Appendix A. The undersigned finds the stipulation
reasonable and adopts it as the decision of the Court in awarding damages, on the terms set forth
therein.

       The parties stipulate that petitioner shall receive the following compensation:

       A lump sum of $210,000.00, in the form of a check payable to Olivia Kerwin on or
       after December 26, 2015. This amount represents compensation for all damages that
       would be available under 42 U.S.C. § 300aa-15(a).

       Id. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         The clerk of the court SHALL ENTER JUDGMENT in accordance with the terms of
the parties’ stipulation.4

       IT IS SO ORDERED.

                                              s/ Thomas L. Gowen
                                              Thomas L. Gowen
                                              Special Master




4
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
Case 1:11-vv-00876-UNJ Document 80 Filed 11/06/15 Page 3 of 7
Case 1:11-vv-00876-UNJ Document 80 Filed 11/06/15 Page 4 of 7
Case 1:11-vv-00876-UNJ Document 80 Filed 11/06/15 Page 5 of 7
Case 1:11-vv-00876-UNJ Document 80 Filed 11/06/15 Page 6 of 7
Case 1:11-vv-00876-UNJ Document 80 Filed 11/06/15 Page 7 of 7
